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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 8:18-CR-00046(B)-JLS _ Recorder: Deborah Parker Date: 10/19/2020
Present: The Honorable Karen E. Scott, U.S. Magistrate Judge

Court Clerk: Jazmin Dorado Assistant U.S. Attorney: Kristin Spencer

nited States of America v. Present for s
1- Johnny Paul Tourino Munk

-Spectra Equipment Inc. ca Munk
tice

 

PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .
Defendants are arraigned.

Defendant corporation Spectra Equipment Inc, represented by Johnny Paul Tourino.

Defendants are given a copy of the Information.

Defendants acknowledge receipt of a copy and waives reading thereof. wf

Waivers of Indictment submitted, accepted by the court and filed.

Defendants plead not guilty to all counts in the Information.

This case was previously assigned to.the calendar of District Judge Josephine L. Staton.
All dates previously set remain.

Counsel are-referred to the assigned judge's trial/discovery order located on the Court's website,. Judges’ Procedures and
Schedules.

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Trial estimate: 10 days.

Parties appearing by video. Advisement of Rights (CR-10) and Consent to. Video Conference (CR-29) filed.

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‘ PIA: 00 : 26
Initials of Deputy Clerk: JD
ce: Statistics Clerk, PSALA PSASA, USMSA

 

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